Case 1:05-cv-01159-.]DT-STA Document 12 Filed 08/29/05 Page 1 of 4 Page|D 8
UNITED STATES DIsTRICT CoURT

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OFFICE oF THE CLERK

LORRETTA G. WHYTE
CLERK

500 POYDRAS Sr., SUITE C-151
NEw ORLEANS, LA 70130
August 25, 2005

Robert Di Trolio, Clerk
United States District Court
Westem District of Tennessee

 

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Jackson, TN 38301 w §

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Dear Mr. Di Trolio:

Enclosed are certified copies of a transfer order received from the Multidistrict Litigation Panel
in Washington, D,C. It instructs that the cases listed on the attached page be transferred to our district

for disposition pursuant to Title 28 USC 1407, as soon as possible. Our office has assigned new civil
action numbers to these cases as referenced on the attached page.

DO NOT FORWARD THE ORIGINAL RECORD. The Honorable Eldon E. Fallon, U.S.
District Court Judge issued an order directing that the transfer of records consist of only a certified
copy of the complaint (including notice of removal, if applicable), any amendments, the docket sheet
and the MDL Transfer Order, together with a copy of the transfer letter be forwarded to the transferor
court.

Due to the high volume of cases involved in this litigation please provide
paper copies of the above documents instead of simply referring to your website.
Your prompt attention in this matter is greatly appreciated

Should you have any questions regarding this request, please contact Dina Guilbeau at
(504)589-7704.

Very truly yours

Loretta G. Why(e/, Clerk

Dei»uty Clerk
Enclosures

cc: Judicial Panel on Multidistrict Litigation

Case 1:05-cv-01159-.]DT-STA Document 12 Filed 08/29/05 Page 2 014 Page|D 9

 

 

 
  

Your Case Nos. Case Title Our Case Nos.
655-1159 Jeny FOSter, er 31 v. Merck & Co., inc, 05_3900 L (3 ‘

 

1205-1160 Charmam , , v. 0., .
1105-1166 Denny E. West v. Mercl< & Co., Inc., et al 05-3902 L (3)

 

 

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DOCKETNO. 1657

 

BEFORE THE JUDICIAL PANEL ONMULTIDISTRICTLITIGA TION

INRE VIOXXPRODUCTS LIABILITY LITIGATION
(SEE ATTACHED SCHEDULE)

CONDITIONAL TRANSFER ORDER (CTO-ZU)

On February 16, 2005, the Panel transferred 138 civil actions to the United States District Court
for the Eastern District of Louisiana for coordinated or consolidated pretrial proceedings pursuant
to 28 U.S.C. § 1407. Since that time, 832 additional actions have been transferred to the Eastem
District of Louisiana. With the consent ofthat court, all such actions have been assigned to the

lionorable Eldon E. Fallon.

lt appears that the actions on this conditional transfer order involve questions of fact which are
common to the actions previously transferred to the Eastern District of Louisiana and assigned to

Judge Fallon.

Pursuant to Ruie 7.4 ofthe Rules of Procedure ofthe Judicial Panel on Multidistrict Litigation,
199 F.R.D. 425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the
Eastern District of isouisiana for the reasons stated in the order of February 16, 2005, 360
F.Supp.2d 1352 (J.P.M.L. 2005), and, with the consent ofthat court, assigned to the Honorahle

Eldon E. Fallon.

'l`his order does not become effective until it is filed in the Office ofthe Clerl< ofthe United
States District Court for the Eastern District of Louisiana. The transmittal ofthis order to said

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Clerk shail be stayed fifteen (15) days from the entry thereof and if any party files a noticp_pf g
opposition with the Clerk ofthe Panel within this fifteen (15) day p_eriod, the stay will§l;ve‘;l_`;-' g §
continued until further order ofthe Panel. .=_i.l §§ ij
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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:05-CV-01159 was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

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.1 oe S. Moore

Circuit Court Clerk
Haywood County Cthse.
Brownsville, TN 38012

Honorable .1 ames Todd
US DISTRICT COURT

